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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
ABDULLAH RABBAT,
    Plaintiff,
v.                                                              Case No. 6:17-cv-278-Orl-28KRS

COVINGTON SPECIALTY
INSURANCE COMPANY, a Florida
corporation,
       Defendant.
______________________________________

                       NOTICE OF PENDENCY OF OTHER ACTIONS

        In accordance with Local Rule 1.04(d), I certify that the instant action:

_____ IS               related to pending or closed civil or criminal case(s) previously filed in this
                       Court, or any other Federal or State court, or administrative agency as
                       indicated below:
                       _______________________________________________________
                       _______________________________________________________
                       _______________________________________________________
                       _______________________________________________________

__X__                  IS NOT       related to any pending or closed civil or criminal case filed
                       with this Court, or any other Federal or State court, or administrative
                       agency.

       I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER ACTIONS
upon each party no later than fourteen days after appearance of the party.

Dated: March 6, 2017
                                            /s/ Asher Perlin___
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                                       Certificate of Service

       I hereby certify that on March 6, 2017, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

this day on all counsel of record or pro se parties identified on the Service List below in the

manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

or in some other authorized manner for those counsel or parties who are not authorized to receive

electronically Notice of Electronic Filing.


                                                                By: /s/ Asher Perlin
                                                                    Asher Perlin
                                                                    Florida Bar No. 979112

                                         SERVICE LIST

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